              Case 1:25-mj-00143-WBP                    Document 8          Filed 03/06/25          Page 1 of 1 PageID# 19

AO 442 (Rev. 11/11) Arrest Warrant                                                                                             rr




                                          United States District Court
                                                                     for the

                                                          Eastern District of Virginia                       20Z5HAR-O Ali-O!

                      United States of America
                                  V.                                   )
                                                                       )        Case No.    ^ :25-mj-143
                 MICHAEL CHARLES SCHENA
                                                                       )
                                                                       )        UNDER SEAL
                                                                       )
                                                                       )
                              Defendant

                                                         ARREST WARRANT

To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)         Michael Charles Schena
who is accused of an offense or violation based on the following document filed with the court:


□ Indictment               □ Superseding Indictment             □ Information        □ Superseding Information            ^ Complaint
□ Probation Violation Petition                 □ Supervised Release Violation Petition        □ Violation Notice          □ Order of the Court

This offense is briefly described as follows:
  18 U.S.C § 793(g): Conspiracy to gather, transmit, or lose defense information




Date:           3/03/2025
                                                                                               Issuing officer 'srff^nature

City and state:          Alexandria, Virginia                                   Hon, William E. Fitzpatrick, U.S. Magistrate Judge
                                                                                                Printed name and title



                                                                     Return


          This warrant was received on (date) 3 n                          , and the person was arrested on (date)
at (city and state)                        i



Date: 3 / ^                                                                                    }f\-
                                                                                 I           /I rresting officer's signature

                                                                                     KflV>uJ FlftuKig-           Special
                                                                                              Printed name and title '
